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   March 18, 2021

   VIA ECF

   The Honorable John G. Koeltl
   United States District Court
   Daniel Patrick Moynihan
   United States Courthouse
   500 Pearl Street
   New York, NY 10007-1312

          Re:     Doe v. Indyke, et al., 1:20-cv-000484-JGK-DCF

   Dear Judge Koeltl:

   Defendant Ghislaine Maxwell is providing this letter to inform the Court of her
   acceptance of the conditions specified by the Court on March 8, 2021.

   It is unclear why the Plaintiff Jane Doe believed it necessary to file its March 11,
   2021 “response to the Court's Memorandum Opinion and Order (“Opinion”) dated
   March 8, 2021 (ECF 98),” or why she believed that Ms. Maxwell would not accept
   the imposition of the conditions that she herself had requested.

   In light of the above notification of Ms. Maxwell’s acceptance of the conditions
   specified by the Court on March 8, 2021, and Jane Doe’s notification of the
   acceptance of the conditions in her March 11th filing, the other issues raised in Jane
   Doe’s March 11, 2021 filing are moot.

   Ms. Maxwell joins Plaintiff’s request that the Court enter the dismissal of Jane Doe’s
   case on the conditions specified in the March 8, 2021 Order.

   Respectfully Submitted,




   Laura A. Menninger

   CC: Counsel of Record via ECF
